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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION

JAMES LOUIS BROCK III,                              *

                      Petitioner,                   *
v.                                                          Case No. 4:21-CV-194 (CDL)
                                                    *
STATE OF GEORGIA, et al.,
                                                    *
                  Respondents.
___________________________________                 *

                                          JUDGMENT

       Pursuant to this Court’s Order dated June 24, 2022, having accepted the recommendation of the

United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this action.

       This 24th day of June, 2022.

                                            David W. Bunt, Clerk


                                            s/ Elizabeth S. Long, Deputy Clerk
